Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 1 of 72 PageID #:3408
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 2 of 72 PageID #:3409
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 3 of 72 PageID #:3410
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 4 of 72 PageID #:3411
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 5 of 72 PageID #:3412
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 6 of 72 PageID #:3413
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 7 of 72 PageID #:3414
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 8 of 72 PageID #:3415
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 9 of 72 PageID #:3416
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 10 of 72 PageID #:3417
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 11 of 72 PageID #:3418
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 12 of 72 PageID #:3419
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 13 of 72 PageID #:3420
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 14 of 72 PageID #:3421
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 15 of 72 PageID #:3422
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 16 of 72 PageID #:3423
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 17 of 72 PageID #:3424
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 18 of 72 PageID #:3425
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 19 of 72 PageID #:3426
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 20 of 72 PageID #:3427
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 21 of 72 PageID #:3428
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 22 of 72 PageID #:3429
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 23 of 72 PageID #:3430
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 24 of 72 PageID #:3431
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 25 of 72 PageID #:3432
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 26 of 72 PageID #:3433
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 27 of 72 PageID #:3434
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 28 of 72 PageID #:3435
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 29 of 72 PageID #:3436
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 30 of 72 PageID #:3437
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 31 of 72 PageID #:3438
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 32 of 72 PageID #:3439
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 33 of 72 PageID #:3440
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 34 of 72 PageID #:3441
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 35 of 72 PageID #:3442
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 36 of 72 PageID #:3443
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 37 of 72 PageID #:3444
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 38 of 72 PageID #:3445
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 39 of 72 PageID #:3446
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 40 of 72 PageID #:3447
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 41 of 72 PageID #:3448
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 42 of 72 PageID #:3449
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 43 of 72 PageID #:3450
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 44 of 72 PageID #:3451
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 45 of 72 PageID #:3452
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 46 of 72 PageID #:3453
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 47 of 72 PageID #:3454
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 48 of 72 PageID #:3455
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 49 of 72 PageID #:3456
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 50 of 72 PageID #:3457
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 51 of 72 PageID #:3458
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 52 of 72 PageID #:3459
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 53 of 72 PageID #:3460
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 54 of 72 PageID #:3461
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 55 of 72 PageID #:3462
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 56 of 72 PageID #:3463
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 57 of 72 PageID #:3464
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 58 of 72 PageID #:3465
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 59 of 72 PageID #:3466
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 60 of 72 PageID #:3467
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 61 of 72 PageID #:3468
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 62 of 72 PageID #:3469
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 63 of 72 PageID #:3470
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 64 of 72 PageID #:3471
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 65 of 72 PageID #:3472
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 66 of 72 PageID #:3473
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 67 of 72 PageID #:3474
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 68 of 72 PageID #:3475
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 69 of 72 PageID #:3476
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 70 of 72 PageID #:3477
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 71 of 72 PageID #:3478
Case: 1:09-cv-05340 Document #: 315-15 Filed: 03/28/13 Page 72 of 72 PageID #:3479
